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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION

  INTELLECTUAL VENTURES II LLC,

     Plaintiff,                             Civil Action No. 2:16-cv-00980-JRG

     v.                                       JURY TRIAL DEMANDED

  FEDEX CORP., FEDERAL EXPRESS
  CORP., FEDEX GROUND PACKAGE
  SYSTEM, INC., FEDEX FREIGHT,
  INC., FEDEX CUSTOM CRITICAL
  INC., FEDEX OFFICE AND PRINT
  SERVICES, INC., and GENCO
  DISTRIBUTION SYSTEM, INC.,

     Defendants.


     PLAINTIFF INTELLECTUAL VENTURES II LLC’S SUPPLEMENTAL BRIEF
 IN FURTHER SUPPORT OF ITS MOTION FOR JUDGMENT AS A MATTER OF LAW
      UNDER RULE 50(b) AND MOTION FOR A NEW TRIAL UNDER RULE 59
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       Abbreviation                                   Meaning

  IV                  Plaintiff Intellectual Ventures II LLC
  FedEx               The FedEx Defendants
  TT-#A               Trial Transcript, Day #, Morning Session
  TT-#P               Trial Transcript, Day #, Afternoon Session
  JMOL                Judgment as a matter of law
  ’581 patent         United States Patent No. 8,494,581
  ’586 patent         United States Patent No. 9,047,586
  ’356 patent         United States Patent No. 6,909,356
  ’715 patent         United States Patent No. 7,199,715
  Corp.               FedEx Corporation
  Ground              FedEx Ground Package System, Inc.
  Express             Federal Express Corporation
  Office              FedEx Office and Print Services, Inc.
  CLS                 Common Label Service
  DWS                 Dispatch Work Station
  PTO                 United States Patent and Trademark Office
  PTAB                Patent Trial and Appeal Board
  IPR                 Inter Partes Review
  FWD                 Final Written Decision
  AIA                 America Invents Act
                      American National Standard for Material Handling—Unit Loads and
  ANSI                Transport Packages—Two-Dimensional Symbols, ANSI 10.8.3M-1996
                      (DTX 219)
  Multicode           RPS Multicode Bar Code Label Guide (DTX 254)
                      Guide to Bar Coding with UPS For Customers Generating Bar Code
  UPS
                      Labels, Version III




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                   Intellectual Ventures II LLC’s Motion for Judgment As A Matter Of
  IV’s Motion      Law Under Rule 50(b) And Motion For A New Trial Under Rule 59
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  DTX-36           FedEx.com printout (2017)
  DTX-100          USPN 6,094,642 issued to Stephenson et al.
  DTX-101          The Federal Express DADS Handheld - An Introduction DRAFT
                   Version 1.2
  DTX-219          American National Standard for Material Handling—Unit Loads and
                   Transport Packages—Two-Dimensional Symbols, ANSI 10.8.3M-1996
  DTX-254          RPS Multicode Bar Code Label Guide
  DTX-299          Federal Express, Video “Intro to FedEx Ship & interNetShip”
  DTX-379          Shipping the Internet Way - Now There's FedEx interNetShip
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  PTX-0003         Ribbon Copy of U.S. Patent No. 8,494,581
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  PTX-0082         FedEx Ship Manager Software User Guide, Version 3000
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  PTX-0162               FedEx Ground: Star IV P&D Scanner Workbook, FHD: Home
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  PTX-0166               Dispatch Workstation (DWS) Applications (FILED UNDER SEAL)

  PTX-0201               FedEx, PowerPad Functional Specification WR 142192 GPS Phase 2
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  PTX-0213               FedEx Ground dataflow for system used in pickup and delivery
                         operations (FILED UNDER SEAL)
  PTX-0220               Excerpt of Motorola - MC9500-K Mobile Computer User Guide, Rev.
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                         Ship Manager @ fedex.com, Software Version INET-JAN 14 CL,
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  PTX-0342               Software Requirements Specification, ITG 140583 IRD, JCLS (07-22-
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  PTX-0425               Software Requirements Specification: Common Label Service - CLS
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  PTX-0467               Software Requirements Specification: FedEx Ship Manager (CAFE) -
                         CAFE2600 - 124070 - Intelligent Mail Package Barcode (IMpb) Phase
                         2 (04-20-2012) (FILED UNDER SEAL)
  PTX-0499               Excerpt of Email chain from C. Morgan to N. Holmes containing
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                         (FILED UNDER SEAL)
  PTX-0625               Excerpt of Source code: Cls.java (FILED UNDER SEAL)


 Bolded exhibits are filed with this supplemental brief; the remainder are attached to either the
 opening or reply brief.

 Unless, otherwise noted, all emphasis is added.




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           After IV moved under Rules 50 and 59 for JMOL and/or a new trial (Dkt. 561, “IV’s

 Motion”), the PTAB issued Final Written Decisions (“FWDs”) for the claims from the ’581 patent

 (claims 1, 18, and 20) and the ’586 patent (claim 7) that IV asserted at trial. Accordingly, estoppel

 under 35 U.S.C. § 315(e)(2) now applies to every invalidity challenge FedEx raised at trial against

 those patents (and on which FedEx relies in opposing IV’s Motion), as each of those challenges

 rests on a ground FedEx “reasonably could have raised” in its IPR petitions—even those FedEx

 referred to as “systems.” The record demonstrates that FedEx referred to certain invalidity grounds

 as “systems” to cloak FedEx’s actual reliance on underlying patents and printed publications and

 to attempt to escape the estoppel provisions of 35 U.S.C. § 315(e). The Court should reject that

 attempt. Beyond the evidentiary bases IV identified in its earlier briefing on these post-trial

 motions, statutory estoppel under § 315(e)(2) presents an additional, independent basis to vacate

 and/or reverse the judgment of invalidity as to the asserted claims of the ’581 and ’586 patents.1

 I.        ADDITIONAL FACTUAL BACKGROUND

           In early 2017, FedEx filed IPR petitions against all asserted claims of the patents-in-suit.

 (Exs. 14-17.) In mid-2017, the PTAB denied institution on all ’356 patent claims and some claims

 from each of the ’581, ’586, and ’715 patents. (Exs. 18-21.) Relevant here, the PTAB instituted

 IPR trial on ’581 claim 1 and ’586 claim 7, but denied institution on ’581 claims 18 and 20.

           ’581 IPR (IPR2017-00729): In FedEx’s first IPR Petition seeking review of claims 1-24

 of the ’581 patent, FedEx sought institution on the following grounds:

                Claims             Basis                         Prior Art
     1   1-15, 18-19, 21, 23-24    § 103   Rappaport (U.S. Patent 6,971,063)
     2             16              § 103   Rappaport in view of DeLorme (U.S. Patent 6,321,358)
     3           17, 22            § 103   Rappaport in view of Wright (U.S. Patent 5,857,201)
     4             20              § 103   Rappaport in view of Khalessi (U.S. Patent 6,633,900)


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     IV respectfully requests oral argument on IV’s Motion, including on these estoppel issues.


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 (Ex. 14.) The Board initially instituted review on a subset of those claims (1-17) and grounds (1-3)

 (Ex. 18). On April 24, 2018, two days before the PTAB trial, the Supreme Court held in SAS Inst.,

 Inc. v. Iancu that a FWD must address all claims challenged in a petition. 138 S. Ct. 1348 (2018).

 After the PTAB trial (including on the ’581 and ’586 petitions), the PTAB panel held a conference

 call to “give the parties further opportunity to discuss the impact of the Supreme Court’s decision

 in [SAS].” (Ex. 30, 4:17-21.) During that call, FedEx conceded that:

        from the board’s analysis in the institution decision, we think it follows that in the
        boards’ [sic] opinion, the petitions did not meet the higher preponderance standard
        required to find those claims unpatentable in any final written decision.

 (Ex. 30, 7:3-8.) And FedEx expressly agreed to a procedure in which no additional evidence or

 argument would be presented on claims for which institution was initially denied—including ’581

 claims 18 and 20. (Id., 6:10-7:25; 21:1-24.) In light of the parties’ agreement, the PTAB issued

 orders modifying its Institution Decisions to include all claims challenged in FedEx’s petitions.

 (Exs. 24-A, 24-B.) On July 20, 2018, the PTAB issued a FWD on FedEx’s petition against the

 ’581 patent in Case IPR2017-00729. (Ex. 22.) The PTAB addressed claims 1-24 and found claims

 1-17 invalid as obvious and claims 18-24 not invalid. (Id.)

        ’586 IPR (IPR2017-00729): In FedEx’s first IPR Petition seeking review of ’586 patent

 claims 7, 8, 12, 13, 16, 18, and 19, FedEx sought institution on the following grounds:

              Claims             Basis                          Prior Art
  1   7, 8, 12, 13, 16, 18, 19   § 103   ANSI in view of Ett (U.S. Patent 5,298,731)
  2       7, 12, 16, 18, 19      § 103   ANSI in view of UPS
  3             8, 13            § 103   ANSI in view of UPS and Ett

 (Ex. 17.) The Board initially only instituted review on ground 1 for claims 7, 8, 12, 13. (Ex. 21.)

 As described above, following SAS, the Board—with the parties’ agreement—determined that the

 FWD would address all claims challenged in the Petition. (Ex. 24.) On August 9, 2018, the PTAB

 issued a FWD finding claims 7, 8, 12, and 13 invalid as obvious (over ANSI in view of Ett), and



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 finding claims 16, 18 and 19 not invalid. (Ex. 23.)

        Additional Post-Grant Proceedings: Following the PTAB’s original Institution Decisions,

 FedEx filed “follow-on” IPR petitions against the non-instituted claims, and a motion to stay this

 case pending IPR. (Dkt. 104; see also Exs. 25, 26.) IV opposed the stay motion, in part, because,

 at that time, the PTAB had denied institution on more than half of the asserted claims. (Dkt. 112.)

 The Court denied FedEx’s stay motion, noting that a stay would do little to simplify the issues

 because the PTAB had “declined to institute on a majority of the Asserted Claims.” (Dkt. 141, 3.)

 The PTAB later denied institution on all of FedEx’s follow-on IPR petitions under 35 U.S.C. §

 314(a), finding that FedEx’s follow-on IPR strategy was inefficient and unfair to IV (tantamount

 to an abuse of process). (Exs. 27, 28.) Following that decision, FedEx filed a request for Ex Parte

 Reexamination on ’581 claims 18-20 and 24. (Ex. 29.) That Ex Parte reexamination is ongoing.

        Jury Trial: This Court held a five-day jury trial beginning on May 14, 2018.

        FedEx’s ’581 Trial Presentation: Through its expert David Williams, FedEx asserted that

 claim 1 was invalid as obvious over what FedEx called the “FedEx Prior Art Systems,” alone

 and/or in combination with U.S. Patent No. 5,589,835 (“Gildea”), that claim 18 was invalid as

 obvious over the FedEx Prior Art Systems in view of Gildea, and that claim 20 was invalid as

 obvious over the FedEx Prior Art Systems in view of Gildea and Khalessi. FedEx presented

 evidence of the alleged “FedEx Prior Art Systems” primarily through DTX-100 (U.S. Patent

 6,094,642, “Stephenson”), a FedEx patent that indisputably could have been presented in FedEx’s

 IPR petition. Mr. Williams showed a few images from two additional documents in his

 demonstratives, which added nothing of substance to Stephenson. See DTX-101 (document titled

 “The Federal Express DADS Handheld, An Introduction”), DTX-406 (document titled “Dispatch

 Work Station, An Overview” dated July 15, 2015 (about 15 years after the ’581 priority date));




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 (Ex. 34.) FedEx did not present evidence of the software or source code that provided any of the

 alleged functionality of the systems. FedEx employee Mr. Tracy Bailey (an inventor on

 Stephenson) was the only other witness who testified relating to the “Systems.” (Ex. 40; Ex. 41.)

 Mr. Williams’ and Mr. Bailey’s trial testimony heavily focused on Stephenson’s disclosure.

         FedEx’s ’586 Trial Presentation: Through its expert Sprague Ackley, FedEx asserted that

 claim 7 was invalid as (a) anticipated by ANSI; or obvious over (a) ANSI; (c) Multicode; and (d)

 Multicode + “FedEx Prior Art Systems” (a system called “interNetShip”). FedEx presented

 evidence of interNetShip through one printed customer automation manual (DTX 379) and one

 public-facing instructional video (DTX 299). FedEx did not present physical evidence of the

 software or source code encompassed within the interNetShip “system.” Mr. Bailey was the only

 other FedEx witness who testified relating to interNetShip. Mr. Ackley’s and Mr. Bailey’s

 testimony focused on what the manual and video disclosed.

 II.  STATUTORY ESTOPPEL PRESENTS AN ADDITIONAL, INDEPENDENT
 BASIS FOR THE COURT TO VACATE AND/OR REVERSE THE JUDGMENT OF
 INVALIDITY AGAINST THE ASSERTED ’581 AND ’586 PATENT CLAIMS.

        35 U.S.C. § 315(e)(2) states:

        The petitioner in an inter partes review of a claim in a patent under this chapter that
        results in a final written decision under section 318(a), or the real party in interest
        or privy of the petitioner, may not assert [] in a civil action arising under section
        1338 of title 28 . . . that the claim is invalid on any ground that the petitioner raised
        or reasonably could have raised during that inter partes review.

 It is undisputed that defendant FedEx Corp. is the petitioner (and each other defendant is a real

 party in interest and/or privy of FedEx Corp.) in IPRs that resulted in FWDs on ’581 claims 1, 18,

 and 20, and ’586 claim 7. (Exs. 14-17.) Thus, now that FWDs have issued, FedEx is estopped from

 asserting in this litigation that those claims are invalid on any ground that FedEx “raised or

 reasonably could have raised” in its IPR petitions. See 35 U.S.C. § 315(e)(2). Because it takes

 effect immediately and applies to every invalidity challenge FedEx asserts against the ’581 and


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 ’586 patents, statutory estoppel provides an independent basis for the Court to grant IV’s Motion

 regarding the validity of those patents, or at a minimum, vacate the invalidity judgment

        A.      IPR Estoppel Under 35 U.S.C. § 315(e)(2) Takes Effect On The Date The
                PTAB Issues A Final Written Decision.

        The AIA statute states that estoppel attaches when the FWD is issued. 35 U.S.C.

 § 315(e)(2). By the plain language, estoppel applies during any stage of an ongoing non-final civil

 action, including after a jury trial or during appeal. Id. (referring to a “civil action” without

 specifying a particular stage of such an action).2 In this case, the PTAB issued FWDs on the ’581

 and ’586 patents after entry of judgment on the jury’s verdict, but during the pendency of IV’s

 Motion. Estoppel under § 315(e)(2) took effect immediately at the time the FWDs were issued

 (i.e., July 20, 2018 as to the ’581 patent and August 9, 2018 as to the ’586 patent).

        That result is consistent with Congress’s purpose to incentivize petitioners to file IPRs as

 “quick and cost effective alternatives to litigation.” See H.R. Rep. No. 112-98, pt. 1, at 48 (2011);

 see also 157 Cong. Rec. 2710 (Feb. 28, 2011) (statement of Sen. Grassley) (Ex. 32) (“These new

 procedures would also provide faster less costly alternatives to civil litigation to challenge

 patents.”); see also 157 Cong. Rec. 13187 (Sept. 8, 2011) (Ex. 33) (noting that the final bill extends




 2
   In the analogous collateral estoppel context, a final judgment of invalidity “has an immediate
 issue-preclusive effect on any pending or co-pending actions involving the patent” at any stage of
 a litigation, including during appeal after a jury verdict. XY, LLC v. Trans Ova Genetics, L.C., 890
 F.3d 1282, 1294 (Fed. Cir. 2018); Soverain Software LLC v. Victoria’s Secret Direct Brand Mgmt.,
 LLC, 778 F.3d 1311, 1315 (Fed. Cir. 2015) (“It is also established that issue preclusion applies
 even though the precluding judgment [] comes into existence while the case as to which preclusion
 is sought [] is on appeal.”); Dana Corp. v. NOK, Inc., 882 F.2d 505, 507 (Fed. Cir. 1989) (“[W]e
 see no reason why estoppel cannot be raised during the pendency of an appeal.”). The analogy is
 on point because, like § 315(e) estoppel, collateral estoppel is directed to concerns about “the
 expense and complexity of patent litigation [] and the need for judicial economy.” E.g., Dana, 882
 F.2d at 507. The § 315(e) estoppel provisions are consistent with common law standards embodied
 by collateral estoppel. See 154 Cong. Rec. 22625 (Sep. 27, 2008) (statement of Sen. Kyl) (Ex. 31)
 (“Privity is essentially a short-hand statement that collateral estoppel is to be applied”).


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 the proposed deadline to file an IPR “in light of the present bill’s enhanced estoppels,” i.e., those

 provided in 35 U.S.C. § 315(e)). Here, FedEx availed itself of the alternative IPR process to

 challenge IV’s patents, and its petitions resulted in FWDs.3 Under § 315(e)(2), FedEx is estopped

 from asserting validity challenges it raised or reasonably could have raised in its IPR petitions.

        B.      IPR Estoppel Under § 315(e)(2) Takes Effect Regardless Of The PTAB’s
                Finding On Patentability In The Final Written Decision.

        Estoppel attaches when an IPR “results in a final written decision under section 318(a),”

 regardless of whether the FWD finds the challenged claim patentable or unpatentable. 35 U.S.C.

 § 315(e)(2); e.g., SiOnyx, LLC v. Hamamatsu Photonics, K.K., No. 15-13488, 2018 WL 4177941,

 at *18 (D. Mass. Aug. 30, 2018) (applying estoppel both to claims the PTAB found invalid and

 claims the PTAB did not find invalid because “the [estoppel] statute makes no distinction between

 successful and unsuccessful grounds”). Thus, it is irrelevant to the estoppel issue that FedEx

 prevailed in the PTAB’s FWDs with respect to ’581 claim 1 and ’586 claim 7. Regardless of the

 outcome at the PTAB (and any subsequent appeals), FedEx is estopped with respect to every claim

 that the PTAB addressed in its FWDs, including all asserted claims from the ’581 and ’586 patents.

        C.      Every Invalidity Challenge That FedEx Asserted At Trial Against The ’581
                And ’586 Patents Reasonably Could Have Been Raised In The IPR Petitions.

        The AIA limited IPR petitions to challenges “under section 102 or 103 and only on the

 basis of prior art consisting of patents or printed publications.” 35 U.S.C. § 311. Courts have

 interpreted § 315(e)’s “reasonably could have raised” language to encompass all patents or printed

 publications “that a petitioner actually knew about or that ‘a skilled searcher conducting a diligent

 search reasonably could have been expected to discover.’” SiOnyx, 2018 WL 4177941, at *19


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   It is irrelevant that IV opposed FedEx’s motion to stay this case in favor of the IPRs because, at
 that time, the majority of the asserted claims were not instituted and SAS had not yet been decided.
 (See Dkt. 112) After the SAS Court found partial institution decisions to be improper, FedEx
 conceded that the Final Written Decisions should reflect FedEx’s failure of proof. (Ex. 30, 7:3-8.)


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 (internal citation omitted). This Court has recognized that when “purported system art relies on or

 is based on patents or printed publications that [the defendant] would otherwise be estopped from

 pursuing at trial, . . . then [the defendant] should be estopped from presenting those patents and

 printed publications at trial.” Biscotti Inc. v. Microsoft Corp., No. 2:13-cv-01015, 2017 WL

 2526231, at *8 (E.D. Tex. May 11, 2017) (Ex. 37), R&R adopted, No. 2:13-cv-01015, Dkt. 260

 (Ex. 38); see also No. 2:13-cv-01015, Dkt. 238 at 2 (Ex. 39) (“While Microsoft will be permitted

 to present its defense of invalidity based on the [] systems, Microsoft will be limited to using any

 documents that qualify as patents or printed publications solely for the purpose of establishing the

 date on which the [] systems were in public use or on sale).

        Other courts have also prevented defendants from avoiding estoppel using “system” art

 that is essentially identical to a challenge that could have been raised in the IPR based on patents

 or printed publications. See, e.g., Star Envirotech, Inc. v. Redline Detection, LLC, No. 12-cv-

 01861, 2015 WL 4744394, at *4 (C.D. Cal. Jan. 29, 2015) (prior art machine must be a “superior

 and separate reference” from the manual describing it); see also Clearlamp, LLC v. LKQ Corp.,

 No. 12-cv-2533, 2016 WL 4734389, at *9 (N.D. Ill. Mar. 18, 2016) (“While LKQ seeks to cloak

 its reliance upon UVHC3000 as a product, so as to avoid § 315(e)(2) estoppel, such an argument

 is disingenuous as it is the UVHC3000 datasheet upon which LKQ relies to invalidate the asserted

 claims….Since the datasheet is a publication, it…could have been used during [IPR].”).

        The purported “system” art in FedEx’s invalidity challenges to the ’581 and ’586 patents

 is actually a set of patents and printed publications that FedEx raised or reasonably could have

 raised in its IPRs. FedEx simply cannot show that the systems are superior and separate references

 from the documents that describe them, particularly given the void of evidence FedEx has of the

 systems themselves. At minimum, FedEx should be precluded from relying on patents and printed




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 publications as substantive evidence of the system’s functionality.

                1.     FedEx’s ’581 Patent Obviousness Challenge Is Based On Patents That
                       FedEx Reasonably Could Have Raised In Its IPR.

        At trial, FedEx’s validity challenges to claims 1, 18, and 20 were based on the alleged

 “FedEx Prior Art Systems” alone or in view of Gildea and/or Khalessi (two patents). Independent

 of the problems with FedEx’s lack of evidence of the “FedEx Prior Art Systems” (Dkt. 561, 19-

 26), FedEx should now be estopped from further pursuing invalidity challenges based on that

 purported system art because it “relies on or is based on” patents that FedEx would have otherwise

 been estopped from pursuing at trial.

                               FedEx Should Be Estopped From Using Stephenson; FedEx
                               Cannot Prove “FedEx Prior Art Systems” Without It.

        FedEx’s use of the “FedEx Prior Art Systems” relies almost entirely on Stephenson, but

 FedEx is estopped from using Stephenson, at least for its substance. Biscotti, 2017 WL 2526231,

 at *8 (estopping defendant from presenting patents and publications underlying alleged “system”

 art at trial); (Ex. 39, 2.) Stephenson is a FedEx patent that was both known to FedEx (as early as

 1997) and available to use in IPR. (DTX-100.) FedEx has never argued that it could prove

 obviousness of the ’581 patent claims over the “FedEx Prior Art Systems” without using

 Stephenson, and in fact, the record demonstrates that it simply cannot prove obviousness without

 it. (TT-3A, 119:9-136:14; TT-3P, 3:22-9:10; Ex. 34.)

        Stephenson was indispensable to FedEx expert Mr. Williams’s obviousness analysis. (TT-

 3A, 92:8-93:7, 119:9-136:14; TT-3P, 3:22-12:7.) His testimony and accompanying demonstrative

 slides (Ex. 34) reveals that Stephenson was his primary source of information about the FedEx

 Prior Art Systems. Although some of Mr. Williams’ demonstratives paid lip service to images

 from DTX-406 and DTX-101, those citations only cloaked FedEx’s reliance on Stephenson to

 avoid estoppel. Clearlamp, LLC, 2016 WL 4734389, at *9. Mr. Williams began his testimony by


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 admitting that Stephenson “covers many of the elements” of the FedEx Prior Art Systems and

 began his invalidity analysis by presenting a highlighted copy of Stephenson. (TT-3A, 93:2-7; Ex.

 34, 1) After showing the jury Stephenson, Mr. Williams explained why he believed the FedEx

 Prior Art “as evidenced by Stephenson” rendered obvious claim 1 and used Stephenson’s 1997

 date on all claim 1 slides. (TT-3A, 122:22-123:2; see also id. at 123:3-129:2, Ex. 34, 3-12.) During

 his claim analysis, Mr. Williams explicitly relied on Stephenson for every element of the claims

 except for the third limitation (means for managing data) and fifth limitation (means for enabling

 communicating the data collected) of claim 18.4 (TT-3A, 119:9-136:14; TT-3P, 3:22-9:10.)

          Stephenson was even the lynchpin of FedEx employee Mr. Bailey’s testimony—the only

 other testimony FedEx presented at trial regarding the FedEx Prior Art Systems—a witness

 purporting to have personal knowledge. (TT-2P, 206:20-226:21, TT-3A, 6:18-23:7; Exs. 40, 41.)

 Rather than explain how the purported systems worked from personal knowledge and

 corroborating that knowledge with documents, nearly all of Mr. Bailey’s testimony introduced and

 repeated portions of his patent, Stephenson. (TT-2P, 220:10-226:21; TT-3A, 6:18-10:19, 12:12-

 13:15; Ex. 41, 1-14.) Indeed, Mr. Bailey’s testimony merely confirmed the contents of his patent.

 Mr. Bailey first confirmed the title and inventors (Ex. 40, TT-2P, 220:10-21), and then (with

 counsel’s help) read to the jury or summarized several passages from the specification:

              Testimony               Passage from DTX-100                 Subject Matter
     Ex. 40, TT-2P, 221:21-222:9        DTX-100, 1:10-17                   Patent overview
     Ex. 40, TT-2P, 222:10-223:9        DTX-100, 5:32-35                      COSMOS
      Ex. 40, TT-2P, 223:10-19          DTX-100, 10:15-28                      DADS
     Ex. 40, TT-2P, 225:1-226:1;
                                         DTX-100, 5:49-59                    SuperTracker
          TT-3A, 6:24-7:12
      Ex. 40, TT-3A, 9:13-10:9      DTX-100, 5:45-47, 6:66-7:1         Enhanced SuperTracker

 4
  Some of Mr. Williams’ slides incorrectly cited DTX-406 and DTX-101 instead of Stephenson.
 (Ex. 34.) At trial, Mr. Williams asserted that the third element of claim 1 could be satisfied by
 Gildea or by DTX-101 at 20, 22. (Ex. 34, 40-42.) The information from DTX-101 at 20, 22 is also
 contained in Stephenson at, e.g., 7:26-30.


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                                     DTX-100, 7:9-10, 7:14-16,
   Ex. 40, TT-3A, 12:12-13:15                                                  PowerPad
                                        7:19-21, 7:27-29

 FedEx’s counsel’s questions confirmed that Mr. Bailey was testifying about the Stephenson

 document itself (interspersed with a few images from DTX-36—a timeline from fedex.com). (E.g.,

 Ex. 40, TT-2P, 225:2-12 (“Q. And [DTX-100] says here that [the Enhanced SuperTracker] is a

 relatively small battery-powered device used by Federal Express personnel …? A. Yes. Q. Okay.

 And that’s again, an excerpt from your – from your patent, correct? A. Yes.”); TT-3A, 9:13-19

 (“Q. Okay. Okay. I’m just bringing up from your patent, again, a portion of the specification related

 to the Enhanced SuperTracker that we saw earlier. And the Enhanced SuperTracker is described

 here on Column 5, Lines 45 to 47 and Column 6, lines 66 to 71 of your ’642 patent. And it

 explains how it works; is that accurate? A. Yes, that is correct.”); Id., 12:12-13:15 (asking Mr.

 Bailey to confirm how the PowerPad works “based on” a passage in column 7 of DTX-100).)

         Other than reading or summarizing portions of Stephenson, the rest of Mr. Bailey’s

 testimony concerning the alleged FedEx Prior Art Systems merely addressed small portions of the

 three other FedEx documents—DTX-36, DTX-406, and DTX-101—which were irrelevant to the

 ’581 patent claim limitations. (Ex. 40; Ex. 41 (all of Mr. Bailey’s ’581 demonstratives).) For DTX-

 36, Mr. Bailey showed thumbnail-sized images from that timeline and described those timeline

 entries at a high-level. (Ex. 40, 210:25-216:13; Ex. 41, 3, 9, 10.) For example, Mr. Bailey described

 COSMOS as:

        a customer system—it’s much like a reservation system that someone might use,
        say, from a travel agent reserving a ticket for an airline, you would reserve a
        package pickup, if you would. So customers would contact a service agent, and
        COSMOS is the system that the customers used to—connected the—the package
        itself and the scanning of the package and all of that with the customer together.

 (TT-2P, 212:3-10.) Neither the stock photo from DTX-36 nor the description above provided any

 detail relevant to the ’581 validity analysis or any detail that was not also in Stephenson. (Compare



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 DTX-36, at 3-4 with DTX-100, 5:32-35, and PTX-0003.) For DTX-406, Mr. Bailey showed the

 jury one image from page 6 (FDXIV00614822) showing clip art allegedly depicting COSMOS,

 DADS, and the “DADS terminal,” and described the flow chart on that page. (Ex. 40, TT-3A,

 13:16-17:3.) That flow chart did not contain any information different from Stephenson (and in

 fact, Stephenson provided greater detail about the dispatch process). (See, e.g., DTX-100, 3:60-

 12:47.) Lastly, for DTX-101, Mr. Bailey just showed the jury a portion of the cover of the

 document, claimed that the document described “the DADS handheld terminal” (without showing

 the jury any passages from it) and reiterated the (brief) description he provided of the terminal in

 connection with DTX-36. (Compare TT-3A, 10:20-12:5 with TT-2P, 215:14-216:13.) Again, the

 description Mr. Bailey provided had nothing to do with the claim limitations. Moreover, Mr.

 Bailey never attempted to show the jury any meaningful detail in DTX-101 to corroborate any of

 his testimony. (Id.; Ex. 41) Thus, without Stephenson, Mr. Bailey’s testimony also could not

 sustain an obviousness verdict.

        In sum, without Stephenson, FedEx simply cannot prove its obviousness case against any

 of the ’581 patent claims. And because FedEx reasonably could have raised Stephenson in IPR,

 FedEx should be estopped from using it now. Biscotti, 2017 WL 2526231, at *8.

                               None Of FedEx’s Three Other Documents Is “Superior To” Or
                               “Separate From” Stephenson’s Disclosure.

        Although FedEx called them the “FedEx Prior Art Systems,” it did so only to avoid § 315(e)

 estoppel. FedEx tried to obscure its reliance on Stephenson through citing three other documents

 (DTX-101, DTX-406, and DTX-36) at trial and in briefing. But FedEx cannot show, as it must to

 avoid estoppel, that those documents were “superior to” or “separate from” Stephenson.

 Clearlamp, LLC, 2016 WL 4734389, at *9; Star Envirotech, 2015 WL 4744394, at *4.

        Mr. Williams’ testimony confirms that FedEx cannot show that anything from DTX-406



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 or DTX-101 is superior to and separate from Stephenson. (TT-3A, 92:8-93:7, 119:9-136:14; TT-

 3P, 3:22-12:7; Ex. 34.) As explained above, Mr. Williams relied on Stephenson, Gildea, or

 Khalessi for all claim limitations except for the third and fifth limitations of claim 18. And for

 those two limitations, Mr. Williams could have made the same arguments using one of those

 patents. For the third limitation, Mr. Williams (incorrectly) asserted that the limitation was

 satisfied by an ability to use “on-line help screens and tutorials” using DTX-101 at 10. (Ex. 35

 (TT-3P, 134:9-136:14); Ex. 34, 20.) Even if that were true (which it is not, at least because it never

 addressed the claimed “program” that is accessed remotely), that same deficient disclosure appears

 in Stephenson. (E.g., DTX-100, at 7:26-29, 10:29-53, claims 4, 32 (describing instructions being

 sent to the data collection device.) Similarly, for the fifth limitation, Mr. Williams (incorrectly)

 asserted that the limitation was satisfied by transmitting data from a van to the mainframe using

 DTX-406 at 6. (Ex. 36 (TT-3P, 5:14-6:23); Ex. 34, 24.) Even if that were true (which it is not, at

 least because, according to the claim, the data must be sent from the handheld device), that same

 deficient disclosure appears in Stephenson. (E.g., DTX-100, 9:63-67 (discussing transmitting data

 from the van (“docking station”) “to the central data storage facility”).)

        The only logical rationale behind Mr. Williams using those additional documents was to

 provide window dressing to avoid estoppel. Tellingly, Mr. Williams never explained to the jury

 the connection between Stephenson and DTX-406/DTX-101, why he selected any images from

 them, the context behind the images selected, or why DTX-406 and DTX-101 even are relevant to

 the system described in Stephenson. Remarkably, even though Mr. Bailey testified that the DADS

 Handheld was used allegedly as early as 1995, the DADS Handheld was not mentioned in

 Stephenson (dated 1997), in DTX-406 (dated 2015) or in DTX-36 (printed in 2017). Those

 documents could not corroborate Mr. Bailey’s testimony that that device was ever in public use,




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 including in 1995, or that the DADS handheld was part of a single “system” (along with the other

 devices described in Stephenson). Thus, even if the Court finds that FedEx is not estopped from

 using DTX-101, that document simply cannot save FedEx because FedEx has provided no credible

 evidence that the DADS Handheld described therein ever existed, was in public use, or was part

 of the “system” that FedEx presented. Indeed, aside from the fact that the later documents never

 reference a “DADS Handheld” device, DTX-101 itself is marked as a draft—a fact that Mr. Bailey

 tried to hide from the jury during his direct examination. (TT-3A, 31:5-14; Ex. 40; Ex. 41, 12.)

        Mr. Bailey also provided no other testimony to show that any of DTX-36, DTX-101, or

 DTX-406 is “separate from” or “superior to” Stephenson. He did not bring any components of the

 “Systems,” or any software or source code to prove how any component operated. Mr. Bailey did

 not explain how the server operated or how the alleged system(s) utilized location information—

 both critical to the asserted claims. Despite being FedEx’s only trial witness with alleged personal

 knowledge of the FedEx Prior Art Systems, Mr. Bailey’s testimony simply identified what FedEx

 contended were relevant passages from Stephenson and supplemented those passages with

 thumbnail images from DTX-36, clip art and a flow chart from DTX-406, and an image from a

 portion of the cover of DTX-101. (Exs. 40, 41.) That minimal disclosure cannot suffice to show

 that any of those documents (or even his testimony) is separate from or superior to Stephenson.

        At bottom, examination of Mr. Williams’ testimony as to the validity of claims 1, 18, and

 20 reveals several, fatal issues to sustaining the jury verdict (Dkt. 561.). But even further analysis

 of the trial record (in light of the ’581 patent FWD from the PTAB) reveals that FedEx—via

 testimony from Mr. Bailey and Mr. Williams—merely used imagery from additional references

 (DTX-101, DTX-406, DTX-36) as an attempted means to shield FedEx from estoppel under 35

 U.S.C. § 315(e). That attempt should be rejected, and estoppel provides a separate, independent




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 reason to grant IV’s motion for JMOL and/or a new trial as to the ’581 patent validity.

                 2.      FedEx’s ’586 Patent Invalidity Challenges Are Based On Printed
                         Publications That FedEx Raised Or Could Have Raised In Its IPR.

         At trial, FedEx (allegedly) presented four invalidity grounds against ’586 patent claim 7:

 (a) ANSI § 102; (b) ANSI § 103; (c) Multicode § 103; and (d) Multicode + FedEx Prior Art Systems

 § 103. Because FedEx’s only anticipation challenge was based on the ANSI document that FedEx

 actually used in its IPR that resulted in the FWD, under § 315(e)(2) the Court should vacate the

 judgment that claim 7 is anticipated. (See Dkt. 538 ¶ 2.)

         The Court should similarly vacate the judgment that claim 7 is obvious because each of the

 three obviousness grounds reasonably could have been raised in the IPR. All three of FedEx’s

 obviousness challenges rely on printed publications that FedEx actually knew about at the time it

 filed its initial IPR Petition. ANSI is a publication that FedEx raised in its initial IPR, and Multicode

 is a FedEx publication that FedEx raised in its follow-on IPR.5 (Exs. 17, 26.) Thus, there can be

 no question that FedEx reasonably could have raised ANSI and Multicode in its initial IPR petition.6

         Although FedEx referred to a FedEx Prior Art “System[]” (interNetShip) as its third

 ground, FedEx used that terminology to hide the fact that it was actually using two printed

 publications related to interNetShip, rather than the system itself (to avoid estoppel): a printed

 interNetShip manual (DTX-379) and an instructional video (DTX-299). (TT-3A, 25:2-5 (“[Q.] So

 the video and the DTX-379, those are the only documents you brought us today to describe the



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   Multicode (DTX-254), titled “RPS Multicode Bar Code Label Guide,” originated from “RPS,”
 which was acquired by FedEx in 1998 and rebranded as defendant FedEx Ground.
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   FedEx cannot now argue that its ANSI and Multicode challenges include a separate legal theory
 based on prior use that could not have been raised in IPR because that would directly contradict
 FedEx’s earlier representations when opposing IV’s motion to strike that undisclosed theory.
 (Dkt. 326, 3 (“The FedEx Defendants are not relying on the creation and dissemination of ANSI
 and Multicode to advance a separate, new legal theory based on prior use . . . .”).)


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 interNetShip system, true?” A. That is correct.”).). FedEx presented evidence that the manual and

 video were used to “instruct customers on how to use the interNetShip system” (TT-3A, 25:21-

 24), and were publicly accessible before the 2001 priority date of the ’586 patent. (See TT-3A,

 17:8-18:20 (testifying that DTX-379 was given to customers as early as 1996); TT-3P, 169:2-4

 (“It is my understanding that this [DTX-379] was first made available to the public in 1996 . . .

 .”).) A publicly accessible video qualifies as a printed publication for purposes of 35 U.S.C. §§

 102 and 103. See, e.g., Medtronic, Inc. v. Barry, 891 F.3d 1368, 1371 (Fed. Cir. 2018); In re Wyer,

 655 F.2d 221, 226-227 (C.C.P.A. 1981); Intex Recreation Corp. v. Bestway Inflatables & Material

 Corp., Case IPR2016-00180, Paper 33 at 25 (May 26, 2017).

        FedEx presented no evidence of the interNetShip system that was independent of the

 document and the video. Mr. Bailey’s testimony entirely depended on the contents of the

 interNetShip manual itself. (See TT-3A, 17:21-11 (“Q. . . . Looking into the DTX-379, . . . what

 exactly were the operations that could be performed using this interNetShip software system? . . .

 .”); TT-3A, 19:1-20:3 (referring to images in the interNetShip manual).) The only other witness

 who mentioned interNetShip was FedEx’s expert, who could not provide fact testimony about the

 functionality and relied, again, on the document and video. (TT-3P, 169:8-170:1.)

        FedEx cannot circumvent the estoppel provision of § 315(e)(2) by reframing two printed

 publications as evidence of the interNetShip “system.” There is no evidence to support a

 conclusion that the interNetShip system is a “superior and separate” reference from the printed

 publications that FedEx relied on. E.g., Clearlamp, 2016 WL 4734389, at *9; Star Envirotech,

 2015 WL 4744394, at *4. And even if the Court determines that FedEx is not estopped from

 asserting the interNetShip system as prior art, FedEx should be estopped from presenting the

 manual and video as evidence of the system’s functionality. Biscotti, 2017 WL 2526231, at *8.




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  DATED: September 7, 2018              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was filed electronically in

 compliance with Local Rule CV-5(a). As such, this document was served on all counsel who are

 deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to Fed. R.

 Civ. P. 5(d) and Local Rule CV-5(d) and (e), all other counsel of record not deemed to have

 consented to electronic service were served with a true and correct copy of the foregoing by email,

 on this the 7th day of September 2018.



                                                  /s/ Lauren M. Nowierski
                                                  Lauren M. Nowierski




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